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                   IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF ARKANSAS
                           FAYETTEVILLE DIVISION



 CRIMINAL NO. 12-50008-010                USA v. GREGORIO CARRANZA

 COURT PERSONNEL:                         APPEARANCES:

 Judge: JIMM LARRY HENDREN                Govt. CLAY FOWLKES

 Clerk: GAIL GARNER                       Deft. TERRY HARPER

 Reporter: THERESA SAWYER


                          SENTENCING MINUTE SHEET

      On this date the above-named defendant appeared in person and
 with counsel for sentencing and is sworn.

       (X)   Inquiry made that defendant is not under influence of
             alcohol or drugs and is able to comprehend proceedings.
       (X)    Inquiry made whether defendant is under the care of a
             physician or taking any medication and is able to
             comprehend proceedings.
       (X)   Inquiry made that defendant is satisfied with counsel.
       (X)   Court determined that defendant and counsel have had
             opportunity to read and discuss presentence investigation
             report.
       (X)   Presentence investigation report reviewed in open court.
       (X)   Government moves for downward departure pursuant to
             5K1.1 and 3553(e) - granted and 2-level departure
             awarded.
       (X)   Court expresses final approval of plea agreement.
       (X)   Attorney for government afforded opportunity to make
             statement to court.
       (X)   Counsel for defendant afforded opportunity to speak on
             behalf of defendant.
       (X)   Defendant afforded opportunity to make statement and
             present information in mitigation of sentence.
       (X)   Court proceeded to impose sentence as follows:

             48 months imprisonment; 3 years supervised                release;
             $10,000.00 fine - interest waived.
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 Criminal No. 12-50008-010


       (X)   Defendant ordered to comply with standard conditions
             of supervised release.
       (X)   Defendant ordered to comply with the following special
             conditions of supervised release:

             Submit to inpatient/outpatient drug abuse testing/
             treatment as directed by USPO.

             Submit person, residence, vehicle, and place of
             employment to search upon request by USPO.

       (X)   Defendant ordered to pay total special assessment of
             $100.00 for Count 1, which shall be due immediately.
       (X)   Defendant advised of right to appeal sentence imposed.
       (X)   Defendant advised of right to apply for leave to appeal
             in forma pauperis.
       (X)   Government moves to dismiss Count 1 of the indictment and
             the forfeiture allegation - granted.
       (X)   Defendant remanded to custody of USMS.



 DATE: November 28, 2012                  Proceeding began: 11:22 am

                                                         ended: 12:13 pm
